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                    IN THE UNITED STATES DISTRICT COURT FOR
                      THE NORTHERN DISTRICT OF OKLAHOMA

 MARILYN PHILLILPS,                          )
                                             )
                       Plaintiff,            )
                                             )           Case No. 17-CV-547-JHP-JFJ
 v.                                          )
                                             )           Judge James H. Payne
 FARMERS INSURANCE                           )
 COMPANY, INC.,                              )
                                             )
                       Defendant.            )

                              PLAINTIFF'S FINAL WITNESS LIST

        Comes now the Plaintiff, Marilyn Phillips, and for her Final Witness List, provides the

 following:

                                          WITNESSES

 No. Name                                 Proposed Testimony
 1.  Marilyn Phillips                     All matters covered in her sworn statement and
     ℅ Laizure Law, PLLC                  deposition; facts of case; injuries; damages.
     2120 E. 15th Street
     Tulsa, OK 74104
 2.  Kenney Phillips                      Nature and extent of Mrs. Phillips’ injuries.
     ℅ Laizure Law, PLLC
     2120 E. 15th Street
     Tulsa, OK 74104
 3.  Mindy Phillips                       Nature and extent of Mrs. Phillips’ injuries.
 4.  Patrol Officer Aaron J. Daniels      Investigation of the wreck
 5.  Elizabeth Suzanne Wallis             Witness to the wreck; what she saw and heard at the
                                          scene
 6.   Representative     of     Farmers   Marilyn is an insured; paid premiums; policy in force
      Insurance                           and effect; never bounced a check; timely reported
                                          wreck; not faking her injuries; nature and extent of
                                          injuries; contents of claims file; evaluation of the claim
 7.   Dr. Jeff Fox, treating orthopedic   Medical history, treatment, examination, diagnosis,
      surgeon                             prognosis, cause of injury, nature and extent of injury
                                          all per his medical records
 8.   Dr. David Mokhtee, treating         Medical history, treatment, examination, diagnosis,
      orthopedic surgeon                  prognosis, cause of injury, nature and extent of injury
                                          all per his medical records
 9.   Dr. Anthony Economou, treating      Medical history, treatment, examination, diagnosis,
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       eye doctor                      prognosis, cause of injury, nature and extent of injury
                                       all per his medical records
 10.   Dr. Richard Hastings, expert Medical history, treatment, examination, diagnosis,
       medical witness                 prognosis, cause of injury, nature and extent of injury
                                       all per his reports; future medical treatment and cost of
                                       same
 11.   Will Clark, economist (if Present value of cost of future medical treatment
       needed)
 12.   Jeannie     Mores,      massage Injuries to Marilyn; treatment provided
       therapist
 13.   Diane Rooker,                   Facts of the wreck and her activities before, during and
                                       after
 14.   All defense witnesses
 15.   Rebuttal witnesses as needed

                                                             Respectfully Submitted:


                                                      By:    s/Anthony M. Laizure
                                                             Anthony M. Laizure, OBA # 5170
                                                             Laizure Law, PLLC
                                                             2120 East 15th Street
                                                             Tulsa, OK 74104
                                                             Phone: (918)749-0749
                                                             Fax: (918)518-7250
                                                             E-mail: TLaizure@LaizureLaw.com
                                                             Attorney for Plaintiff


                                 CERTIFICATE OF SERVICE

         The undersigned does hereby certify that on the 25th day of April, 2018, I electronically
 transmitted the attached document to the Clerk of Court using the ECF System for filing. Based
 on the records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
 the following ECF registrants:

 Robert Taylor, Esq.
 Taylor, Ryan, Minton, Van Dalsem, PC
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 1437 S. Boulder Ave.
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 Attorney for Defendant Farmers Ins. Co., Inc.

                                                      s/Anthony M. Laizure
                                                      Anthony M. Laizure

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